Case 2:04-cr-20410-SHl\/l Document 27 Filed 04/25/05 Page 1 of 2 PagelD 24

|N THE UNITED STATES D|STR|CT COURT
FOR THE WESTERN D|STR|CT OF TENNESSEE 93 ' ~

 

WESTERN DlVlSlON am 55 \..,;~"', g,.; ‘
4!:::~:£\*'* ‘l‘- ii I.;';":`
UN|TED STATES OF AMER|CA …3 mr 553 MLW ,M 3
P|aintiff
VS.
CR. NO. 04-20410-D
GARY GARNER
Defendant.

 

ORDER ON CONTINUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on April 19, 2005. At that time, counsel forthe
defendant requested a continuance of the Nlay 2, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to July 5, 2005 With a E£Lt
date of Thursdav, June 30. 2005. at 9:00 a.m.. in Courtroom 3, 9th Floor of the Federal
Bui|ding, l\/lemphis, TN.

The period from Nlay 13, 2005 through July 15, 2005 is excludable under 18 U.S.C.
§ 3161(h)(8)(B)(iv) because the ends of justice served in allowing for additional time to
prepare outweigh the need for a speedy tria|.

lT is so oRDERED this 35 ___day orAprii 2005

MM

RN:cE B DONALD
lTED sTATEs DisTRicT JuDeE

'-'l.s ;;qu:tient entered on the docket sheet in con.p.;a-.

-;'-l.m sure ss ano/oraa(b) FRCrP on 4 1173 05 J27

   

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Notice of Distribution

This notice confirms a copy of the document docketed as number 27 in
case 2:04-CR-204]0 Was distributed by faX, mail, or direct printing on
April 27, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

